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                         IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Richmond Division

BHUPINDER SINGH,

                  Plaintiff,
v.                                                   Civil Action No.: 3:23cv339
                                                     Judge Robert E. Payne
Harmanpreet Singh,
Kulbir Kaur, and
Armaan VA Corp, d/b/a Lovely Market,

                 Defendants.

                                             Answer

       COMES NOW, defendant, Kulbir Kaur, by newly retained counsel, Charles R. Samuels

and answers Plaintiff’s Complaint as follows:

1. The Defendant denies the allegations in paragraph 1 of Plaintiff’s Complaint.

2. The Defendant denies the allegations in paragraph 2 of Plaintiff’s Complaint.

3. The Defendant denies the allegations in paragraph 3 of Plaintiff’s Complaint.

4. The Defendant denies the allegations in paragraph 4 of Plaintiff’s Complaint.

5. The Defendant lacks sufficient knowledge to admit or deny the allegations in

paragraph 5 of Plaintiff’s Complaint.

6. The Defendant admits in part and denies in part paragraph 6 of Plaintiff’s Complaint.

Defendant asserts the company has lost it lease and is not currently operating to her

understanding.

7. The Defendant denies the allegations in paragraph 7 of Plaintiff’s Complaint.

8. The Defendant denies the allegations in paragraph 8 of Plaintiff’s Complaint.

9. The Defendant admits in part and denies in part to Paragraph 9 of the Plaintiff’s
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Complaint. Defendant admits to proper venue and denies events or omissions giving rise to a

lawsuit.

10. The Defendant admits the allegations in paragraph 10 of Plaintiff’s Complaint.

11. The Defendant denies the allegations in paragraph 11 of Plaintiff’s Complaint.

12. The Defendant lacks sufficient knowledge to admit or deny the allegations in

paragraph 12 of Plaintiff’s Complaint.

13. The Defendant lacks sufficient knowledge to admit or deny the allegations in

paragraph 13 of Plaintiff’s Complaint.

14. The Defendant denies the allegations in paragraph 14 of Plaintiff’s Complaint.

15. The Defendant denies the allegations in paragraph 15 of Plaintiff’s Complaint.

16. The Defendant denies the allegations in paragraph 16 of Plaintiff’s Complaint.

17. The Defendant denies the allegations in paragraph 17 of Plaintiff’s Complaint.

18. The Defendant denies the allegations in paragraph 18 of Plaintiff’s Complaint.

19. The Defendant denies the allegations in paragraph 19 of Plaintiff’s Complaint.

20. The Defendant denies the allegations in paragraph 20 of Plaintiff’s Complaint.

21. The Defendant denies the allegations in paragraph 21 of Plaintiff’s Complaint.

22. The Defendant denies the allegations in paragraph 22 of Plaintiff’s Complaint.

23. The Defendant denies the allegations in paragraph 23 of Plaintiff’s Complaint.

24. The Defendant lacks sufficient knowledge to admit or deny the allegations in

paragraph 24 of Plaintiff’s Complaint.

25. The Defendant denies the allegations in paragraph 25 of Plaintiff’s Complaint.

26. The Defendant denies the allegations in paragraph 26 of Plaintiff’s Complaint.

27. The Defendant denies the allegations in paragraph 27 of Plaintiff’s Complaint.
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28. The Defendant denies the allegations in paragraph 28 of Plaintiff’s Complaint.

29. The Defendant denies the allegations in paragraph 29 of Plaintiff’s Complaint.

30. The Defendant denies the allegations in paragraph 30 of Plaintiff’s Complaint.

31. The Defendant denies the allegations in paragraph 31 of Plaintiff’s Complaint.

32. The Defendant denies the allegations in paragraph 32 of Plaintiff’s Complaint.

33. The Defendant denies the allegations in paragraph 33 of Plaintiff’s Complaint.

34. The Defendant denies the allegations in paragraph 34 of Plaintiff’s Complaint.

35. The Defendant denies the allegations in paragraph 35 of Plaintiff’s Complaint.

36. The Defendant denies the allegations in paragraph 36 of Plaintiff’s Complaint.

37. The Defendant denies the allegations in paragraph 37 of Plaintiff’s Complaint.

38. The Defendant denies the allegations in paragraph 38 of Plaintiff’s Complaint.

39. The Defendant denies the allegations in paragraph 39 of Plaintiff’s Complaint.

40. The Defendant denies the allegations in paragraph 40 of Plaintiff’s Complaint.

41. The Defendant denies the allegations in paragraph 41 of Plaintiff’s Complaint.

42. The Defendant denies the allegations in paragraph 42 of Plaintiff’s Complaint.

43. The Defendant denies the allegations in paragraph 43 of Plaintiff’s Complaint.

44. The Defendant denies the allegations in paragraph 44 of Plaintiff’s Complaint.

45. The Defendant denies the allegations in paragraph 45 of Plaintiff’s Complaint.

46. The Defendant denies the allegations in paragraph 46 of Plaintiff’s Complaint.

47. The Defendant denies the allegations in paragraph 47 of Plaintiff’s Complaint.

48. The Defendant denies the allegations in paragraph 48 of Plaintiff’s Complaint.

49. The Defendant denies the allegations in paragraph 49 of Plaintiff’s Complaint.

50. The Defendant denies the allegations in paragraph 50 of Plaintiff’s Complaint.
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51. The Defendant denies the allegations in paragraph 51 of Plaintiff’s Complaint.

52. The Defendant denies the allegations in paragraph 52 of Plaintiff’s Complaint.

53. The Defendant denies the allegations in paragraph 53 of Plaintiff’s Complaint.

54. The Defendant denies the allegations in paragraph 54 of Plaintiff’s Complaint.

55. The Defendant denies the allegations in paragraph 55 of Plaintiff’s Complaint.

56. The Defendant denies the allegations in paragraph 56 of Plaintiff’s Complaint.

57. The Defendant denies the allegations in paragraph 57 of Plaintiff’s Complaint.

58. The Defendant denies the allegations in paragraph 58 of Plaintiff’s Complaint.

59. The Defendant denies the allegations in paragraph 59 of Plaintiff’s Complaint.

60. The Defendant denies the allegations in paragraph 60 of Plaintiff’s Complaint.

61. The Defendant denies the allegations in paragraph 61 of Plaintiff’s Complaint.

62. The Defendant denies the allegations in paragraph 62 of Plaintiff’s Complaint.

63. The Defendant denies the allegations in paragraph 63 of Plaintiff’s Complaint.

64. The Defendant denies the allegations in paragraph 64 of Plaintiff’s Complaint.

65. The Defendant denies the allegations in paragraph 65 of Plaintiff’s Complaint.

66. The Defendant denies the allegations in paragraph 66 of Plaintiff’s Complaint.

67. The Defendant denies the allegations in paragraph 67 of Plaintiff’s Complaint.

68. The Defendant denies the allegations in paragraph 68 of Plaintiff’s Complaint.

69. The Defendant denies the allegations in paragraph 69 of Plaintiff’s Complaint.

70. The Defendant denies the allegations in paragraph 70 of Plaintiff’s Complaint.

71. The Defendant denies the allegations in paragraph 71 of Plaintiff’s Complaint.

72. The Defendant denies the allegations in paragraph 72 of Plaintiff’s Complaint.

73. The Defendant denies the allegations in paragraph 73 of Plaintiff’s Complaint.
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74. The Defendant denies the allegations in paragraph 74 of Plaintiff’s Complaint.

75. The Defendant denies the allegations in paragraph 75 of Plaintiff’s Complaint.

76. The Defendant denies the allegations in paragraph 76 of Plaintiff’s Complaint.

77. The Defendant denies the allegations in paragraph 77 of Plaintiff’s Complaint.

78. The Defendant denies the allegations in paragraph 78 of Plaintiff’s Complaint.

79. The Defendant denies the allegations in paragraph 79 of Plaintiff’s Complaint.

80. The Defendant denies the allegations in paragraph 80 of Plaintiff’s Complaint.

81. The Defendant denies the allegations in paragraph 81 of Plaintiff’s Complaint.

82. The Defendant denies the allegations in paragraph 82 of Plaintiff’s Complaint.

83. The Defendant denies the allegations in paragraph 83 of Plaintiff’s Complaint.

84. The Defendant denies the allegations in paragraph 84 of Plaintiff’s Complaint.

85. The Defendant denies the allegations in paragraph 85 of Plaintiff’s Complaint.

86. The Defendant denies the allegations in paragraph 86 of Plaintiff’s Complaint.

87. The Defendant denies the allegations in paragraph 87 of Plaintiff’s Complaint.

88. The Defendant denies the allegations in paragraph 88 of Plaintiff’s Complaint.

89. The Defendant denies the allegations in paragraph 89 of Plaintiff’s Complaint.

90. The Defendant denies the allegations in paragraph 90 of Plaintiff’s Complaint.

91. The Defendant denies the allegations in paragraph 91 of Plaintiff’s Complaint.

92. The Defendant denies the allegations in paragraph 92 of Plaintiff’s Complaint.

93. The Defendant denies the allegations in paragraph 93 of Plaintiff’s Complaint.

94. The Defendant denies the allegations in paragraph 94 of Plaintiff’s Complaint.

95. The Defendant denies the allegations in paragraph 95 of Plaintiff’s Complaint.

96. The Defendant denies the allegations in paragraph 96 of Plaintiff’s Complaint.
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97. The Defendant denies the allegations in paragraph 97 of Plaintiff’s Complaint.

98. The Defendant denies the allegations in paragraph 98 of Plaintiff’s Complaint.

99. The Defendant denies the allegations in paragraph 99 of Plaintiff’s Complaint.

100. The Defendant denies the allegations in paragraph 100 of Plaintiff’s Complaint.

101. The Defendant denies the allegations in paragraph 101 of Plaintiff’s Complaint.

102. The Defendant denies the allegations in paragraph 102 of Plaintiff’s Complaint.

103. The Defendant denies the allegations in paragraph 103 of Plaintiff’s Complaint.

104. The Defendant denies the allegations in paragraph 104 of Plaintiff’s Complaint.

105. The Defendant denies the allegations in paragraph 105 of Plaintiff’s Complaint.

106. The Defendant denies the allegations in paragraph 106 of Plaintiff’s Complaint.

107. The Defendant denies the allegations in paragraph 107 of Plaintiff’s Complaint.

108. The Defendant denies the allegations in paragraph 108 of Plaintiff’s Complaint.

109. The Defendant denies the allegations in paragraph 109 of Plaintiff’s Complaint.

110. The Defendant denies the allegations in paragraph 110 of Plaintiff’s Complaint.

111. The Defendant admits the allegations in paragraph 111 of Plaintiff’s Complaint.

112. The Defendant admits the allegations in paragraph 112 of Plaintiff’s Complaint.

113. The Defendant admits the allegations in paragraph 113 of Plaintiff’s Complaint.

114. The Defendant denies the allegations in paragraph 114 of Plaintiff’s Complaint.

115. The Defendant denies the allegations in paragraph 115 of Plaintiff’s Complaint.

116. The Defendant denies the allegations in paragraph 116 of Plaintiff’s Complaint.

117. The Defendant denies the allegations in paragraph 117 of Plaintiff’s Complaint.

118. The Defendant denies the allegations in paragraph 118 of Plaintiff’s Complaint.

119. The Defendant denies the allegations in paragraph 119 of Plaintiff’s Complaint.
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120. The Defendant lacks sufficient knowledge to admit or deny the allegations in

paragraph 120 of Plaintiff’s Complaint.

121. The Defendant denies the allegations in paragraph 121 of Plaintiff’s Complaint.

122. The Defendant denies the allegations in paragraph 122 of Plaintiff’s Complaint.

123. The Defendant denies the allegations in paragraph 123 of Plaintiff’s Complaint.

124. The Defendant denies the allegations in paragraph 124 of Plaintiff’s Complaint.

125. The Defendant denies the allegations in paragraph 125 of Plaintiff’s Complaint.

126. The Defendant denies the allegations in paragraph 126 of Plaintiff’s Complaint.

127. The Defendant denies the allegations in paragraph 127 of Plaintiff’s Complaint.

128. The Defendant denies the allegations in paragraph 128 of Plaintiff’s Complaint.

129. The Defendant denies the allegations in paragraph 129 of Plaintiff’s Complaint.

130. The Defendant denies the allegations in paragraph 130 of Plaintiff’s Complaint.

131. The Defendant denies the allegations in paragraph 131 of Plaintiff’s Complaint.

132. The Defendant denies the allegations in paragraph 132 of Plaintiff’s Complaint.

133. The Defendant denies the allegations in paragraph 133 of Plaintiff’s Complaint.

134. The Defendant denies the allegations in paragraph 134 of Plaintiff’s Complaint.

135. The Defendant denies the allegations in paragraph 135 of Plaintiff’s Complaint.

136. The Defendant denies the allegations in paragraph 136 of Plaintiff’s Complaint.

137. The Defendant lacks sufficient knowledge to admit or deny the allegations in

paragraph 137 of Plaintiff’s Complaint.

138. The Defendant lacks sufficient knowledge to admit for deny the allegations in

paragraph 138 of Plaintiff’s Complaint.

139. The Defendant denies the allegations in paragraph 139 of Plaintiff’s Complaint.
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140. The Defendant denies the allegations in paragraph 140 of Plaintiff’s Complaint.

141. The Defendant lacks sufficient knowledge to admit for deny the allegations in

paragraph 141 of Plaintiff’s Complaint.

142. The Defendant denies the allegations in paragraph 142 of Plaintiff’s Complaint.

143. The Defendant denies the allegations in paragraph 143 of Plaintiff’s Complaint.

144. The Defendant denies the allegations in paragraph 144 of Plaintiff’s Complaint.

145. The Defendant denies the allegations in paragraph 145 of Plaintiff’s Complaint.

146. The Defendant denies the allegations in paragraph 146 of Plaintiff’s Complaint.

147. The Defendant denies the allegations in paragraph 147 of Plaintiff’s Complaint.

148. The Defendant lacks sufficient knowledge to admit for deny the allegations in

paragraph 148 of Plaintiff’s Complaint.

149. The Defendant denies the allegations in paragraph 149 of Plaintiff’s Complaint.

150. The Defendant denies the allegations in paragraph 150 of Plaintiff’s Complaint.

151. The Defendant denies the allegations in paragraph 151 of Plaintiff’s Complaint.

152. The Defendant denies the allegations in paragraph 152 of Plaintiff’s Complaint.

153. The Defendant denies the allegations in paragraph 153 of Plaintiff’s Complaint.

154. The Defendant denies the allegations in paragraph 154 of Plaintiff’s Complaint.

155. The Defendant denies the allegations in paragraph 155 of Plaintiff’s Complaint.

156. The Defendant denies the allegations in paragraph 156 of Plaintiff’s Complaint.

157. The Defendant denies the allegations in paragraph 157 of Plaintiff’s Complaint.

158. The Defendant denies the allegations in paragraph 158 of Plaintiff’s Complaint.

159. The Defendant denies the allegations in paragraph 159 of Plaintiff’s Complaint.

160. The Defendant denies the allegations in paragraph 160 of Plaintiff’s Complaint.
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161. The Defendant denies the allegations in paragraph 161 of Plaintiff’s Complaint.

162. The Defendant denies the allegations in paragraph 162 of Plaintiff’s Complaint.

163. The Defendant denies the allegations in paragraph 163 of Plaintiff’s Complaint.

164. The Defendant denies the allegations in paragraph 164 of Plaintiff’s Complaint.

165. The Defendant denies the allegations in paragraph 165 of Plaintiff’s Complaint.

166. The Defendant admits the allegations in paragraph 166 of Plaintiff’s Complaint.

167. The Defendant denies the allegations in paragraph 167 of Plaintiff’s Complaint.

168. The Defendant denies the allegations in paragraph 168 of Plaintiff’s Complaint.

169. The Defendant denies the allegations in paragraph 169 of Plaintiff’s Complaint.

170. The Defendant denies the allegations in paragraph 170 of Plaintiff’s Complaint.

171. The Defendant denies the allegations in paragraph 171 of Plaintiff’s Complaint.

172. The Defendant denies the allegations in paragraph 172 of Plaintiff’s Complaint.

173. The Defendant denies the allegations in paragraph 173 of Plaintiff’s Complaint.

174. The Defendant denies the allegations in paragraph 174 of Plaintiff’s Complaint.

175. The Defendant denies the allegations in paragraph 175 of Plaintiff’s Complaint.

RELIEF REQUESTED

WHEREFORE, the Defendant prays that the Complaint against her be dismissed

and for any further relief the Court deems her cause may require.

Respectfully submitted,

__/s/Charles R. Samuels___________________________
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Counsel for Kulbir Kaur
                                 CERTIFICATION OF SERVICE
        I hereby certify that on July 31, 2024, I mailed the Motion to Extend Time by electronic
mail or first-class mail, postage pre-paid to the Craig Juraj Curwood, Esquire
(craig@butlercurwood.com) and Samantha R Galina, Esquire (samantha@butlercurwood.com)
at Butler Curwood, PLC 140 Virginia Street, Suite 302 Richmond, Virginia 23219.

                                     /s/Charles R. Samuels
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